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9                                      UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
10                                            (San José Division)
11

12    CALVARY CHAPEL SAN JOSE, et al.,                           No. 20-CV-03794 BLF
13                     Plaintiffs,                               COUNTY OF SANTA CLARA’S
                                                                 ADMINISTRATIVE MOTION TO
14    v.                                                         VACATE THE TRIAL DATE; AND
                                                                 [PROPOSED] ORDER
15    COUNTY OF SANTA CLARA,
16                     Defendant.                                Judge:       Beth Labson Freeman
17

18                     ADMINISTRATIVE MOTION TO CONTINUE TRIAL DATE

19           Pursuant to Civil Local Rules 6-3, 7-11, and 40-1, defendant County of Santa Clara (“the

20   County”) respectfully moves the Court to: (1) vacate or continue the currently scheduled trial date of

21   May 22, 2023, (2) stay all pretrial deadlines related to the May 22 trial date, and (3) schedule a

22   further status conference within 30 days after the parties report on the conclusion of the parallel

23   enforcement action in the Superior Court for the County of Santa Clara. Plaintiffs oppose the relief

24   sought in this Motion.

25                     BACKGROUND AND EFFORTS TO OBTAIN STIPULATION

26           By email dated February 7, 2023, the undersigned counsel proposed a stipulation to Plaintiffs

27   that would continue the trial date to accommodate: (1) the fact that the Superior Court will hear the

28   County’s motion for summary adjudication on March 14, 2023 and, by law, has 90 days thereafter to
                                                             1
      County’s Administrative Motion to Vacate Trial Date; [Proposed] Order                         20-CV-03794 BLF
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1    issue a final order—which falls after trial in this case would be finished; and (2) Plaintiffs’ request
2    (through prior emails) for a further continuance of the deadline to conclude expert discovery in this
3    case. Declaration of Robin M. Wall (“Wall Decl.”) at ¶2. The undersigned also offered a phone call
4    to discuss this proposed continuance. Id.
5            Less than 15 minutes later, Plaintiffs’ counsel replied by email that Plaintiffs “are not
6    amenable to changing the trial date because [Judge] Freeman has such a busy schedule.” Id. at ¶3.
7    Plaintiffs’ counsel did not communicate any desire to discuss by phone and instead proposed a short
8    extension of the expert discovery deadline. Id.
9                                                BASIS FOR RELIEF
10           There is good cause to grant the relief requested. First, continuing the trial date will help the
11   parties focus their pretrial resources on issues that remain within the Court’s jurisdiction and/or
12   remain in dispute. On January 26, 2023, the Court heard argument on the County’s motion to
13   dismiss and/or stay pursuant to the Younger abstention doctrine and on the parties’ cross-motions for
14   summary judgment. ECF 269. At the hearing, the Court made several comments that impact the
15   case schedule and render the May 22 trial date impracticable.
16           •       The Court noted that its tentative ruling was to grant the Younger motion. Wall Decl.
17                   at ¶4.
18           •       The Court also noted that it anticipated needing several months to decide the cross-
19                   motions for summary judgment. Id.
20           •       And the Court reiterated that it would not adjudicate Plaintiffs’ Eighth Amendment or
21                   California Constitution claims regarding the alleged excessiveness of the fines at
22                   issue until the Superior Court determines the proper amount of those fines. Id.
23   Moving the trial date will serve all of the foregoing interests and preserve party and judicial
24   resources on expert depositions, motions in limine, Daubert motions, and other pretrial activities—
25   all of which must otherwise be completed in the coming weeks, pursuant to the Court’s local rules
26   and standing orders—some or all of which may ultimately become unnecessary depending on how
27   the Court rules on the dispositive motions under submission.
28   //
                                                             2
      County’s Administrative Motion to Vacate Trial Date; [Proposed] Order                  20-CV-03794 BLF
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1            Second, recent delays in the Superior Court proceedings all but guarantee that neither the
2    Court nor the parties will have the necessary clarity on issues still in dispute by the time of the
3    scheduled trial date, let alone the Pretrial Conference or any of the related submissions otherwise due
4    before these milestones. Following Plaintiffs’ ex parte application in state court to continue the
5    hearing on the County’s motion for summary adjudication in that forum, the Superior Court
6    rescheduled the hearing to February 28, 2023. See ECF 263. On January 27, 2023, the Superior
7    Court sua sponte continued that hearing to March 14, 2023. See ECF 271. Article VI, Section 19 of
8    the California Constitution and California Government Code § 68210 impose on the Superior Court
9    a 90-day deadline, after the motion is submitted, to issue a decision. That 90-day deadline falls on
10   June 12, 2023—three weeks after trial is scheduled to begin in this case.
11           The parties have not previously sought modifications to the trial date, though they stipulated
12   to and otherwise sought modifications to briefing schedules and filing and response deadlines in this
13   case on several occasions. E.g., ECF 52, 77, 100, 103, 107, 141, and 148.
14                                              RELIEF REQUESTED
15           Accordingly, for good cause shown, the County respectfully requests that the Court enter an
16   order (1) vacating the trial date of May 22, 2023, (2) staying all pretrial deadlines related to the May
17   22 trial date, and (3) scheduling a further status conference within 30 days after the parties’ report on
18   the conclusion of the parallel Superior Court enforcement case.
19    Dated: February 16, 2023                                   Respectfully submitted,
20                                                               JAMES R. WILLIAMS
                                                                 County Counsel
21

22                                                        By:    /s/ Robin M. Wall
                                                                 ROBIN M. WALL
23                                                               Deputy County Counsel
24                                                               Attorneys for Defendant
                                                                 COUNTY OF SANTA CLARA
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1                                               [PROPOSED] ORDER
2               FOR GOOD CAUSE SHOWN, the Court orders as follows:
3               (1)   The May 22, 2023 trial date is hereby VACATED;
4               (2)   All related pretrial deadlines are hereby STAYED; and
5               (3)   The parties shall promptly report to the Court on the status of the state court
6                     enforcement action after the Superior Court rules on the pending motion for summary
7                     adjudication.
8               IT IS SO ORDERED.
9
     Dated: _____________________                                _________________________________
10                                                               BETH LABSON FREEMAN
                                                                 United States District Court Judge
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      County’s Administrative Motion to Vacate Trial Date; [Proposed] Order                  20-CV-03794 BLF
